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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK




 STATE OF NEW YORK, et al.,

                     Plaintiffs,


           v.                                                     No. 1:18-cv-2921 (JMF)
                                                                  Hon. Jesse M. Furman

 UNITED STATES DEPARTMENT OF                                      NOTICE OF MOTION TO
 COMMERCE, et al.,                                                WITHDRAW AS COUNSEL

                     Defendants.




       PLEASE TAKE NOTICE that, pursuant to Local Rule 1.4, defense counsel Kate Bailey

respectfully requests that the Court order her withdrawal as counsel of record and cease sending

docketing notifications via the ECF system. A motion to withdraw under Rule 1.4 turns on the

reasons for counsel’s withdrawal and the potential impact of that action on the timing of the

proceeding. See, e.g., Winkfield v. Kirschenbaum & Phillips, P.C., No. 12-CV-7424 (JMF), 2013 WL

371673, at *1 (S.D.N.Y. Jan, 29, 2013). Ms. Bailey seeks to withdraw because she is leaving the Civil

Division effective October 28, 2019, and will no longer have responsibility for these cases. Because

Ms. Bailey’s new position does not involve defensive civil litigation on behalf of the U.S.

government, it is appropriate for her to withdraw from this case. Furthermore, this case has been

fully resolved with the exception of NYIC Plaintiffs’ Motion for Sanctions, see ECF No. 635, which

is now fully briefed. Ms. Bailey’s withdrawal will thus have no impact on the prosecution of this suit.

See Whiting v. Lacara, 187 F.3d 317, 320-21 (2d Cir. 1999) (per curiam).
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        Ms. Bailey is mindful of this Court’s order of July 9, 2019, and, as set forth in Exhibit A, will

remain subject to the Court’s jurisdiction for any reason related to these cases and available in the

event her attendance is required at any future hearings as required by this Court. Ms. Bailey is not

retaining or charging a lien.



                                                Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                JOHN R. GRIFFITHS
                                                Director, Federal Programs Branch

                                                CARLOTTA P. WELLS
                                                Assistant Branch Director

                                                /s/ Kate Bailey
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